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                                   UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                          MEDFORD DIVISION

HARTLY BUCHANAN,                                                         Case No. 1:17-CV-00727-MC

                            Plaintiff,                                     ORDER GRANTING
                                                                   STIPULATION FOR BINDING
                    v.                                      ARBITRATION AND STAY OF ACTION

CITIBANK N.A.,

                            Defendant.



                                                  ORDER

PURSUANT TO THE STTPULA TYON OF THE PARTIES, IT IS SO ORDERED THAT:

          I.        The parties shall submit all claims in the above-captioned action to binding

                    arbitration pursuant to the arbitration agreement contained in the Card Agreement

                    attached to the Stipulation as Exhibit 1.

          2.        This matter shall be stayed pending binding arbitration.

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         3.        Within a reasonable time after a final award is granted, or settlement is reached,

                   either party shall advise this court of the outcome of the arbitration proceedings,

                   or any settlement.

DATED: July __ll, 2017
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                                                     Hon. Michael J. McShane
                                                                            .

                                                     U.S. District Court Judge




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